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 5   Attorney for Brett Rosselli and
     Nicole Bruso
 6

 7                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8                                SACRAMENTO DIVISION
 9
                                                    Case No.: 2:15-cv-02644-JAM-CMK
10
     SGI RESORT PROPERTIES, LLC, an Arizona
11   Limited Liability Company; THE SCHOMAC         DEFENDANTS’ ANSWER TO
     GROUP, INC., an Arizona Corporation,           PLAINTIFFS’ COMPLAINT;
12
                                                    DEFENDANTS’ CROSS COMPLAINT
13                        Plaintiffs,               FOR DAMAGES

14                         v.
15
     BRETT ROSSELLI, an individual; NICOLE
16   BRUSO, an individual; and DOES 1 through
     20, inclusive,
17
                       Defendants.
18
     ____________________________________/
19
     BRETT ROSSELLI, an individual and NICOLE
20   BRUSO, an individual,
21
                           Cross Claimants,
22
                           v.
23
     SGI RESORT PROPERTIES, LLC, an Arizona
24
     Limited Liability Company; THE SCHOMAC
25   GROUP, INC., an Arizona Corporation,

26                     Cross Defendants.
     _____________________________________/
27
                                                1                    Answer / Cross Complaint
28
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 1          Comes now Defendants BRETT ROSSELLI (individually, “Rosselli”) and NICOLE

 2   BRUSO (individually, “BRUSO”), and (collectively, the “Defendants”) by and through their
 3
     attorney Gregg W. Koechlein, who hereby answer the Complaint (the “Complaint”) of SGI
 4
     RESORT PROPERTIES, LLC, an Arizona Limited Liability Company and THE SCHOMAC
 5
     GROUP, INC., an Arizona Corporation (collectively, the “Plaintiffs”) as follows.
 6

 7          1. The Defendants admit the allegations of Paragraph 1 of the Complaint.

 8          2. The Defendants deny the allegations of Paragraph 2 of the Complaint.
 9
            3. The Defendants admit the allegations of Paragraph 3 of the Complaint.
10
            4. The Defendants deny the allegations of Paragraph 4 of the Complaint.
11
            5.    The Defendants are without sufficient information to answer the allegations of
12

13   Paragraph 5 of the Complaint and, on the basis, deny the allegations of Paragraph 5 of the

14   Complaint.
15
            6.    The Defendants are without sufficient information to answer the allegations of
16
     Paragraph 6 of the Complaint and, on the basis, deny the allegations of Paragraph 6 of the
17
     Complaint.
18

19          7. The Defendants partially deny the allegations of Paragraph 7 of the Complaint as to

20   the residency of Rosselli. The Defendants partially admit the allegations of Paragraph 7 of the
21
     Complaint as to the age of Rosselli.
22
            8. The Defendants partially deny the allegations of Paragraph 7 of the Complaint as to
23
     the residency of Bruso. The Defendants partially admit the allegations of Paragraph 7 of the
24

25   Complaint as to the age of Bruso.

26          9. The Defendants deny the allegations of Paragraph 9 of the Complaint.
27
                                                    2                       Answer / Cross Complaint
28
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 1          10. The Defendants deny the allegations of Paragraph 10 of the Complaint.

 2          11. The Defendants admit the allegations of Paragraph 11 of the Complaint.
 3
            12. The Defendants admit the allegations of Paragraph 12 of the Complaint.
 4
            13. The Defendants admit the allegations of Paragraph 13 of the Complaint.
 5
            14. The Defendants are without sufficient information to answer the allegations of
 6

 7   Paragraph 14 of the Complaint and, on the basis, deny the allegations of Paragraph 14 of the

 8   Complaint.
 9
            15. The Defendants are without sufficient information to answer the allegations of
10
     Paragraph 15 of the Complaint and, on the basis, deny the allegations of Paragraph 15 of the
11
     Complaint.
12

13          16. The Defendants are without sufficient information to answer the allegations of

14   Paragraph 16 of the Complaint and, on the basis, deny the allegations of Paragraph 16 of the
15
     Complaint.
16
            17. The Defendants are without sufficient information to answer the allegations of
17
     Paragraph 17 of the Complaint and, on the basis, deny the allegations of Paragraph 17 of the
18

19   Complaint.

20          18. The Defendants are without sufficient information to answer the allegations of
21
     Paragraph 18 of the Complaint and, on the basis, deny the allegations of Paragraph 18 of the
22
     Complaint.
23
            19. The Defendants admit the allegations of Paragraph 19 of the Complaint.
24

25          20. The Defendants deny the allegations of Paragraph 20 of the Complaint.

26          21. The Defendants admit the allegations of Paragraph 21 of the Complaint.
27
                                                   3                       Answer / Cross Complaint
28
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 1          22. The Defendants deny the allegations of Paragraph 22 of the Complaint.

 2          23. The Defendants are without sufficient information to answer the allegations of
 3
     Paragraph 23 of the Complaint and, on the basis, deny the allegations of Paragraph 23 of the
 4
     Complaint.
 5
            24. The Defendants are without sufficient information to answer the allegations of
 6

 7   Paragraph 24 of the Complaint and, on the basis, deny the allegations of Paragraph 24 of the

 8   Complaint.
 9
            25. The Defendants are without sufficient information to answer the allegations of
10
     Paragraph 25 of the Complaint and, on the basis, deny the allegations of Paragraph 25 of the
11
     Complaint.
12

13          26. The Defendants are without sufficient information to answer the allegations of

14   Paragraph 26 of the Complaint and, on the basis, deny the allegations of Paragraph 26 of the
15
     Complaint.
16
            27. The Defendants are without sufficient information to answer the allegations of
17
     Paragraph 27 of the Complaint and, on the basis, deny the allegations of Paragraph 27 of the
18

19   Complaint.

20          28. The Defendants are without sufficient information to answer the allegations of
21
     Paragraph 28 of the Complaint and, on the basis, deny the allegations of Paragraph 28 of the
22
     Complaint.
23
            29. The Defendants deny the allegations of Paragraph 29 of the Complaint.
24

25          30. The Defendants deny the allegations of Paragraph 30 of the Complaint.

26          31. The Defendants are without sufficient information to answer the allegations of
27
                                                   4                       Answer / Cross Complaint
28
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 1   Paragraph 31 of the Complaint and, on the basis, deny the allegations of Paragraph 31 of the

 2   Complaint.
 3
            32. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 31 of the
 4
     Complaint in answer to the allegations of Paragraph 32 of the Complaint.
 5
            33. The Defendants deny the allegations of Paragraph 33 of the Complaint.
 6

 7          34. The Defendants deny the allegations of Paragraph 34 of the Complaint.

 8          35. The Defendants deny the allegations of Paragraph 35 of the Complaint.
 9
            36. The Defendants deny the allegations of Paragraph 36 of the Complaint.
10
            37. The Defendants deny the allegations of Paragraph 37 of the Complaint.
11
            38. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 37 of the
12

13   Complaint in answer to the allegations of Paragraph 38 of the Complaint.

14          39. The Defendants deny the allegations of Paragraph 39 of the Complaint.
15
            40. The Defendants deny the allegations of Paragraph 40 of the Complaint.
16
            41. The Defendants deny the allegations of Paragraph 41 of the Complaint.
17
            42. The Defendants deny the allegations of Paragraph 42 of the Complaint.
18

19          43. The Defendants deny the allegations of Paragraph 43 of the Complaint.

20          44. The Defendants deny the allegations of Paragraph 44 of the Complaint.
21
            45. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 44 of the
22
     Complaint in answer to the allegations of Paragraph 45 of the Complaint.
23
            46. The Defendants deny the allegations of Paragraph 46 of the Complaint.
24

25          47. The Defendants deny the allegations of Paragraph 47 of the Complaint.

26          48. The Defendants deny the allegations of Paragraph 48 of the Complaint.
27
                                                    5                       Answer / Cross Complaint
28
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 1          49. The Defendants deny the allegations of Paragraph 49 of the Complaint.

 2          50. The Defendants deny the allegations of Paragraph 50 of the Complaint.
 3
            51. The Defendants deny the allegations of Paragraph 51 of the Complaint.
 4
            52. The Defendants deny the allegations of Paragraph 52 of the Complaint.
 5
            53. The Defendants deny the allegations of Paragraph 53 of the Complaint.
 6

 7          54. The Defendants deny the allegations of Paragraph 54 of the Complaint.

 8          55. The Defendants deny the allegations of Paragraph 55 of the Complaint.
 9
            56. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 55 of the
10
     Complaint in answer to the allegations of Paragraph 56 of the Complaint.
11
            57. The Defendants deny the allegations of Paragraph 57 of the Complaint.
12

13          58. The Defendants deny the allegations of Paragraph 58 of the Complaint.

14          59. The Defendants deny the allegations of Paragraph 59 of the Complaint.
15
            60. The Defendants deny the allegations of Paragraph 60 of the Complaint.
16
            61. The Defendants deny the allegations of Paragraph 61 of the Complaint.
17
            62. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 61 of the
18

19   Complaint in answer to the allegations of Paragraph 62 of the Complaint.

20          63. The Defendants deny the allegations of Paragraph 63 of the Complaint.
21
            64. The Defendants deny the allegations of Paragraph 64 of the Complaint.
22
            65. The Defendants deny the allegations of Paragraph 65 of the Complaint.
23
            66. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 65 of the
24

25   Complaint in answer to the allegations of Paragraph 66 of the Complaint.

26          67. The Defendants deny the allegations of Paragraph 67 of the Complaint.
27
                                                    6                       Answer / Cross Complaint
28
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 1           68. The Defendants deny the allegations of Paragraph 68 of the Complaint.

 2           69. The Defendants deny the allegations of Paragraph 69 of the Complaint.
 3
             70. The Defendants deny the allegations of Paragraph 70 of the Complaint.
 4
             71. The Defendants deny the allegations of Paragraph 71 of the Complaint.
 5
             72. The Defendants deny the allegations of Paragraph 72 of the Complaint.
 6

 7           73. The Defendants deny the allegations of Paragraph 73 of the Complaint.

 8           74. The Defendants deny the allegations of Paragraph 74 of the Complaint.
 9
             75. The Defendants deny the allegations of Paragraph 75 of the Complaint.
10
             76. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 75 of the
11
     Complaint in answer to the allegations of Paragraph 76 of the Complaint.
12

13           77. The Defendants deny the allegations of Paragraph 77 of the Complaint.

14           78. The Defendants deny the allegations of Paragraph 78 of the Complaint.
15
             79. The Defendants deny the allegations of Paragraph 79 of the Complaint.
16
             80. The Defendants deny the allegations of Paragraph 80 of the Complaint.
17
             81. The Defendants deny the allegations of Paragraph 81 of the Complaint.
18

19           82. The Defendants deny the allegations of Paragraph 82 of the Complaint.

20           83. The Defendants reincorporate and reallege their answers to Paragraphs 1 to 82 of the
21
     Complaint in answer to the allegations of Paragraph 83 of the Complaint.
22
             84. The Defendants deny the allegations of Paragraph 84 of the Complaint.
23
             85. The Defendants deny the allegations of Paragraph 85 of the Complaint.
24

25           86. The Defendants deny the allegations of Paragraph 86 of the Complaint.

26   ////
27
                                                    7                        Answer / Cross Complaint
28
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 1                                      FIRST AFFIRMATIVE DEFENSE

 2
             Each purported claim for relief is barred as the Complaint fails to state a claim for which
 3
      relief may be granted.
 4

 5                                  SECOND AFFIRMATIVE DEFENSE
 6
             Each purported claim for relief is barred as Plaintiff has failed, refused or neglected to
 7
      take reasonable steps to mitigate its damages, therefore barring or diminishing its ability to
 8

 9    recover.

10
                                     THIRD AFFIRMATIVE DEFENSE
11

12           Each purported claim for relief is barred as Plaintiff’s alleged injuries are the proximate

13    result of superseding and intervening acts for which the Defendants are not liable.
14
                                    FOURTH AFFIRMATIVE DEFENSE
15

16           Each purported claim for relief is barred as the Defendants are not legally responsible for

17    the acts and/or omissions of other third parties.
18
                                     FIFTH AFFIRMATIVE DEFENSE
19

20           Each purported claim for relief is barred as the Plaintiff has not suffered any actual
21
      damages.
22
                                     SIXTH AFFIRMATIVE DEFENSE
23

24           Each purported claim for relief is barred as the Plaintiff has only alleged prosepective
25
      damages.
26

27
     ////
                                                          8                     Answer / Cross Complaint
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 1                               SEVENTH AFFIRMATIVE DEFENSE

 2
            Any statement or statements made by Rosselli or Bruso regarding the Plaintiffs are true
 3
     and correct.
 4

 5                                EIGHTH AFFIRMATIVE DEFENSE
 6
            All possible affirmative defenses may not have been alleged in as much as insufficient
 7
     facts and other relevant information may not be available after reasonable inquiry and the
 8

 9   Defendants hereby reserve the right to amend these affirmative defenses as additional

10   information becomes available to the Defendants.
11
            WHEREFORE, Defendants Brett Rosselli and Nicole Bruso pray for judgment against
12
     Plaintiffs SGI Resort Properties, LLC and The Schomac Group, Inc. as follows.
13

14          1. Plaintiffs take nothing by way of their Complaint;
15
            2. For an award of their attorney’s fees;
16

17          3. For an award of their costs of suit; and
18
            4. Any and all other relief that the Court deems appropriate.
19

20

21

22

23

24

25

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27
                                                        9                   Answer / Cross Complaint
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 1                              CROSS COMPLAINT FOR DAMAGES

 2
            Comes now Cross Claimants BRETT ROSSLLI (individually, “Rosselli”); and NICOLE
 3
     BRUSO (individually, “Bruso”) and (collectively, the “Cross Claimants”), by and through their
 4

 5
     attorney Gregg W. Koechlein, as and for their Cross Complaint against               SGI RESORT

 6   PROPERTIES, LLC (individually, “SGI”) and THE SCHOMAC GROUP, INC. (individually,
 7   “Schomac”) and (collectively, the “Cross Defendants”) and allege follows.
 8
                                               I. PARTIES
 9

10          1. Rosselli is an individual and resident of the State of Nevada.
11
            2. Bruso is an individual and resident of the State of Nevada.
12

13          3.     SGI is an Arizona Limited Liability Company doing business in the State of
14   California.
15
            4. Schomac is an Arizona Corporation doing business in the State of California.
16

17          5. SGI and Schomac own and operate a property in Clio, California known as Nakoma
18
     Golf Resort & Spa (“Nakoma”).
19

20
                                   II. JURISDICTION AND VENUE

21
            6.     Pursuant to 28 U.S.C. § 1332, the Court has diversity jurisdiction because this
22
     controversy is between citizens of different states and the amount in controversy, as alleged by
23
     the Cross Defendants, exceeds $75,000.00.        Pursuant to 28 U.S.C. § 1367, this Court has
24

25   supplemental jurisdiction for related claims under the laws of the State of California.

26

27
                                                     10                         Answer / Cross Complaint
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 1          7. Pursuant to 28 U.S.C. § 1391 (b), venue is proper in the United States District Court

 2   for the Eastern District of California. All Cross Claimants have transacted business in this
 3
     District and have submitted to the jurisdiction and venue of this Court. Cross Defendants are the
 4
     Plaintiffs in the action underlying this Cross Complaint and thus have submitted to the
 5
     jurisdiction and venue of this Court.
 6

 7                                  III. GENERAL ALLEGATIONS
 8
            8. On, or about, March 25, 2015 Rosselli answered an ad on Craigslist placed by the
 9

10   Cross Defendants and Nakoma.

11
            9. In response to Rosselli’s answer to this ad, Rosselli traveled to Clio, California and
12
     performed certain consulting services. This was for a period of time from March 29, 2015 to
13
     April 8, 2015.
14

15          10. While Rosselli was in Hawaii beginning on April 21, 2015, Rosselli had numerous
16
     conversations with the management of Nakoma in which the parties discussed the terms of
17
     Rosselli’s soon to come employment with the Cross Defendants and Nakoma. These terms
18
     includd such things as compensation, medical insurance, quarterly bonuses and reimbursement
19

20   of relocation expenses from both Vermont and Las Vegas, Nevada.

21
            11. Rosselli arrived at Nakoma on, or about, May 10, 2015 and promptly began his
22
     duties related to the restaurants, spa and hotel facility located at the Nakoma property. This
23

24
     employment terminated, without notice, on December 15, 2015.

25

26

27
                                                    11                       Answer / Cross Complaint
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 1             12. Bruso arrived shortly thereafter and was also offered employment by Nakoma and

 2   started such employment on, or about, July 5, 2015. This employment terminated on November
 3
     19, 2015.
 4

 5
               13. Initially Rosselli and Bruso were housed at a property known as Long Valley Resort.

 6   Subsequently, in late August of 2015, they were moved to house on the property of the Nakoma
 7   resort.
 8
               14. Rosselli and Bruso stored some of their personal property at another location owned
 9

10   by the Cross Defendants known as the Feather River Resort or the Long Valley Resort.

11
               15. In the course of assisting with the opening of the new hotel property at Nakoma,
12
     Rosselli was forced to incur personal credit card expenses in order to obtain certain items that
13
     were needed by way of ordering from online vendors. For a period of time these expenses were
14

15   reimbursed in a timely manner for all such expenses. Beginning in September of 2015, these

16   timely reimbursements ceased and some reimbursements were not made at all even though
17
     Rosselli submitted requests for reimbursement.
18
               16. On, or about, December 8, 2015, Rosselli suufered an injury on the job and filed a
19

20   claim for workers compensation.

21
               17. Under the guidance of Rosselli, the overall profitability of the Nakoma property was
22
     greatly improved from a substantial loss to a break even situation.
23

24                          IV. FIRST CAUSE OF ACTION (CONVERSION)
25
               18. Cross Claimants refer to Paragraphs 1 to 17 of the Cross Complaint and incorporate
26
     and re-allege each of them as though each was fully set forth herein.
27
                                                      12                       Answer / Cross Complaint
28
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 1           19. On, or about, August 19, 2015, Rosselli purchased $1,100.70 worth of hair dryers

 2   from the American Hotel Register Company to be used in the new hotel property at Nakoma.
 3
     These items were paid for with the personal credit card of Rosselli.
 4

 5
             20. On, or about, August 20, 2015, Rosselli purchased $1,377.31 worth of hotel room

 6   wastebaskets and hotel tissue box coverss from the Webstaurant Store to be used in the new hotel
 7   property at Nakoma. These items were paid for with the personal credit card of Rosselli.
 8
             21. Cross Claimants are informed and believe and thereon allege that all of the items
 9

10   described in Paragraphs 19 and 20 are currently being used by Cross Defendants for their benefit

11   at the new hotel property at Nakoma.
12
             22. Although Rosselli has requested reimbursement for the expenses incurred for the
13
     benefit of the Cross Defendants, the Cross Defendants have refused to tender such
14

15   reimbursement and have retained possession of all of said hair dryers, hotel wastebaskets and

16   hotel tissue box covers. Since Rosselli has never been reimbursed for these items, these items
17
     are still the rightful property of Rosselli.
18
             23. On, or about, July 1, 2015 Rosselli and Bruso placed certain items of their personal
19

20   property at a property owned by Cross Defendants known as the Feather River Resort or the

21   Long Valley Resort. Said items being a bed with mattress and frame, stereo equipment including
22
     a receiver and speaker, various tools, recliner chair, two dog travelling cases, a large wire pet
23
     kennel and a small love seat/couch.            Despite the requests of Cross Claimants, the Cross
24
     Defendants continue to retain possession of these items of personal property.
25

26

27
                                                         13                     Answer / Cross Complaint
28
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 1          24. As a proximate result of the Cross Defendants’ wrongful conversion of the Cross

 2   Claimants’ personal property and the property purchased by Rosselli, the Cross Claimants have
 3
     suffered monetary damages and the loss of the use of their personal property.
 4

 5
            25. The acts of the Cross Defendants are wilful, wanton, malicious and oppressive and

 6   were undertaken with the intent to defraud and justify the awarding of exemplary and punitive
 7   damages.
 8
            26.    Wherefore, the Cross Claimants request damages together with exemplary and
 9

10   punitive damages in amounts to be proven at trial.

11
                      SECOND CAUSE OF ACTION (UNJUST ENRICHMENT)
12
            27. Cross Claimants refer to Paragraphs 1 to 26 of the Cross Complaint and incorporate
13

14   and re-allege each of them as though each was fully set forth herein.

15
            28. As a proximate result of the conduct of the Cross Defendants described in Paragraphs
16
     19 to 22, above, the Cross Defendants have been unjustly enriched at the expense of Cross
17

18
     Claimants.

19
            29. The Cross Defendants should be required to disgorge all momnies, profits and gains
20
     which they have obtained or will unjustly obtain in the future at the expense of the Cross
21
     Claimants and a constructive trust should be imposed thereon for the benefit of the Cross
22

23   Defendants.

24
            30. The acts of the Cross Defendants are wilful, wanton, malicious and oppressive and
25
     were undertaken with the intent to defraud and justify the awarding of exemplary and punitive
26
     damages.
27
                                                     14                       Answer / Cross Complaint
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 1          31.   Wherefore, the Cross Claimants request damages together with exemplary and

 2   punitive damages in amounts to be proven at trial.
 3
                               THIRD CAUSE OF ACTION (DEFAMATION)
 4

 5          32. Cross Claimants refer to Paragraphs 1 to 31 of the Cross Complaint and incorporate
 6
     and re-allege each of them as though each was fully set forth herein.
 7
            33.   Cross Claimants are informed and believe and thereon allege that the Cross
 8

 9   Defendants and their officers, employees, agents and representatives have been making false and

10   malicious statements regarding the character and professional competence of Rosselli to various
11
     vendors, employees and ex-employees of the Cross Defendants with the intent to damage the
12
     reputation of Rosselli.
13

14          34. At the time that the Cross Defendants and their officers, employees, agents and

15   representatives made such statements regarding Rosselli, the Cross Defendants and their officers,
16
     employees, agents and representatives knew such statements were false.
17

18
            35. Cross Claimants are informed and believe and thereon allege that the false and

19   malicious statements made by the Cross Defendants and their officers, employees, agents and
20   representatives were understood by the recipients to be regarding Rosselli.
21
            36. As a proximate result of the false and malicious statements made by the Cross
22

23   Defendants and their officers, employees, agents and representatives, Rosselli has suffered loss

24   of reputation and personal harm.
25

26

27
                                                     15                       Answer / Cross Complaint
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 1          37. The acts of the Cross Defendants and their officers, employees, agents and

 2   representatives are wilful, wanton, malicious and oppressive and were undertaken with the
 3
     express intent to harm Rosselli and justify the awarding of exemplary and punitive damages.
 4

 5
            38.   Wherefore, the Cross Claimants request damages together with exemplary and

 6   punitive damages in amounts to be proven at trial.
 7
                               FOURTH CAUSE OF ACTION (SLANDER)
 8

 9          39. Cross Claimants refer to Paragraphs 1 to 38 of the Cross Complaint and incorporate

10   and re-allege each of them as though each was fully set forth herein.
11
            40.   Cross Claimants are informed and believe and thereon allege that the Cross
12
     Defendants and their officers, employees, agents and representatives have been making false and
13

14   malicious statements regarding the character and professional competence of Rosselli to various

15   vendors, employees and ex-employees of the Cross Defendants with the intent to damage the
16
     reputation of Rosselli.
17

18
            41. At the time that the Cross Defendants and their officers, employees, agents and

19   representatives made such statements regarding Rosselli, the Cross Defendants and their officers,
20   employees, agents and representatives knew such statements were false.
21
            42. Cross Claimants are informed and believe and thereon allege that the false and
22

23   malicious statements made by the Cross Defendants and their officers, employees, agents and

24   representatives were understood by the recipients to be regarding Rosselli.
25

26

27
                                                     16                       Answer / Cross Complaint
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 1          43. As a proximate result of the false and malicious statements made by the Cross

 2   Defendants and their officers, employees, agents and representatives, Rosselli has suffered loss
 3
     of reputation and personal harm.
 4

 5
            44. The acts of the Cross Defendants and their officers, employees, agents and

 6   representatives are wilful, wanton, malicious and oppressive and were undertaken with the
 7   express intent to harm Rosselli and justify the awarding of exemplary and punitive damages.
 8
            45.   Wherefore, the Cross Claimants request damages together with exemplary and
 9

10   punitive damages in amounts to be proven at trial.

11
                            FIFTH CAUSE OF ACTION (TRADE LIBEL)
12
            46. Cross Claimants refer to Paragraphs 1 to 45 of the Cross Complaint and incorporate
13

14   and re-allege each of them as though each was fully set forth herein.

15
            47.   Cross Claimants are informed and believe and thereon allege that the Cross
16
     Defendants and their officers, employees, agents and representatives have been publishing false
17

18
     and malicious statements by way of electronic mail regarding the character and professional

19   competence of Rosselli to various vendors, employees and ex-employees of the Cross
20   Defendants with the intent to damage the reputation of Rosselli.
21
            48. At the time that the Cross Defendants and their officers, employees, agents and
22

23   representatives made such statements regarding Rosselli, the Cross Defendants and their officers,

24   employees, agents and representatives knew such statements were false.
25

26

27
                                                     17                       Answer / Cross Complaint
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 1          49. Cross Claimants are informed and believe and thereon allege that the false and

 2   malicious statements made by the Cross Defendants and their officers, employees, agents and
 3
     representatives were understood by the recipients to be regarding Rosselli.
 4

 5
            50. As a proximate result of the false and malicious statements made by the Cross

 6   Defendants and their officers, employees, agents and representatives, Rosselli has suffered loss
 7   of reputation and personal harm.
 8
            51. The acts of the Cross Defendants and their officers, employees, agents and
 9

10   representatives are wilful, wanton, malicious and oppressive and were undertaken with the

11   express intent to harm Rosselli and justify the awarding of exemplary and punitive damages.
12
            52.   Wherefore, the Cross Claimants request damages together with exemplary and
13
     punitive damages in amounts to be proven at trial.
14

15                                SIXTH CAUSE OF ACTION (FRAUD)
16
            53. Cross Claimants refer to Paragraphs 1 to 52 of the Cross Complaint and incorporate
17

18
     and re-allege each of them as though each was fully set forth herein.

19
            54. Beginning in April of 2015 and continuing through December of 2015, the Cross
20
     Defendants and their officers, employees, agents and representatives and each of them
21
     knowingly, willfully and falsely represented and promised to Rosselli that his moving expenses
22

23   would be fully reimbursed.

24
            55. Beginning in April of 2015 and continuing through December of 2015, the Cross
25
     Defendants and their officers, employees, agents and representatives and each of them
26
     knowingly, willfully and falsely represented and promised to Rosselli that he would be fully
27
                                                     18                       Answer / Cross Complaint
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 1   reimbursed for monies expended by Rosselli for the benefit of the Cross Defendants and

 2   Nakoma.
 3
             56. These promises and representations made by the Cross Defendants and their officers,
 4

 5
     employees, agents and representatives and each of them were false. The true facts were that the

 6   Cross Defendants had no intention of fully reimbursing Rosselli for his moving expenses and his
 7   expenditures made for the benefit of the Cross Defendants and Nakoma.
 8
             57. Rosselli, at the time these promises and representations were made by the Cross
 9

10   Defendants and their officers, employees, agents and representatives, was ignorant of the falsity

11   of these promises and representations made by the Cross Defendants and their officers,
12
     employees, agents and representatives and believed them to be true.
13
             58. As a proximate result of the false promises and representations made by the Cross
14

15   Defendants and their officers, employees, agents and representatives, Rosselli has suffered

16   monetary losses.
17
             59. The acts of the Cross Defendants and their officers, employees, agents and
18
     representatives are wilful, wanton, malicious and oppressive and were undertaken with the
19

20   express intent to deceive and monetarily harm Rosselli and justify the awarding of exemplary

21   and punitive damages.
22
             60.   Wherefore, the Cross Claimants request damages together with exemplary and
23

24
     punitive damages in amounts to be proven at trial.

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     ////
26
     ////
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 1         SEVENTH CAUSE OF ACTION (INTENTIONAL MISREPRESENTATION)

 2
            61. Cross Claimants refer to Paragraphs 1 to 60 of the Cross Complaint and incorporate
 3
     and re-allege each of them as though each was fully set forth herein.
 4

 5          62. Beginning in April of 2015 and continuing through December of 2015, the Cross
 6
     Defendants and their officers, employees, agents and representatives and each of them
 7
     knowingly and intentionally represented and promised to Rosselli that his moving expenses
 8
     would be fully reimbursed.
 9

10          63. Beginning in April of 2015 and continuing through December of 2015, the Cross
11
     Defendants and their officers, employees, agents and representatives and each of them
12
     knowingly and intentionally represented and promised to Rosselli that he would be fully
13
     reimbursed for monies expended by Rosselli for the benefit of the Cross Defendants and
14

15   Nakoma.

16
            64. These promises and representations made by the Cross Defendants and their officers,
17
     employees, agents and representatives and each of them were false and were made with the
18
     express intent to deceive Rosselli. The true facts were that the Cross Defendants had no
19

20   intention of fully reimbursing Rosselli for his moving expenses and his expenditures made for

21   the benefit of the Cross Defendants and Nakoma.
22
            65. Rosselli, at the time these promises and representations were made by the Cross
23

24
     Defendants and their officers, employees, agents and representatives, was ignorant of the falsity

25   of these promises and representations made by the Cross Defendants and their officers,
26   employees, agents and representatives and believed them to be true.
27
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 1          66. As a proximate result of the false promises and representations made by the Cross

 2   Defendants and their officers, employees, agents and representatives, Rosselli has suffered
 3
     monetary losses.
 4

 5
            67. The acts of the Cross Defendants and their officers, employees, agents and

 6   representatives are wilful, wanton, malicious and oppressive and were undertaken with the
 7   express intent to deceive and monetarily harm Rosselli and justify the awarding of exemplary
 8
     and punitive damages.
 9

10          68.   Wherefore, the Cross Claimants request damages together with exemplary and

11   punitive damages in amounts to be proven at trial.
12
                   EIGHTH CAUSE OF ACTION (DETRIMENTAL RELIANCE)
13

14          69. Cross Claimants refer to Paragraphs 1 to 68 of the Cross Complaint and incorporate

15   and re-allege each of them as though each was fully set forth herein.
16
            70. Beginning in April of 2015 and continuing through December of 2015, the Cross
17

18
     Defendants and their officers, employees, agents and representatives and each of them

19   knowingly and intentionally represented and promised to Rosselli that his moving expenses
20   would be fully reimbursed.
21
            71. Beginning in April of 2015 and continuing through December of 2015, the Cross
22

23   Defendants and their officers, employees, agents and representatives and each of them

24   knowingly and intentionally represented and promised to Rosselli that he would be fully
25
     reimbursed for monies expended by Rosselli for the benefit of the Cross Defendants and
26
     Nakoma.
27
                                                     21                      Answer / Cross Complaint
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 1          72. These promises and representations made by the Cross Defendants and their officers,

 2   employees, agents and representatives and each of them were false and were made with the
 3
     express intent to deceive Rosselli and to cause him to rely on such promises and representations
 4
     made by the Cross Defendants and their officers, employees, agents and representatives. The
 5
     true facts were that the Cross Defendants had no intention of fully reimbursing Rosselli for his
 6

 7   moving expenses and his expenditures made for the benefit of the Cross Defendants and

 8   Nakoma.
 9
            73. Rosselli, at the time these promises and representations were made by the Cross
10

11
     Defendants and their officers, employees, agents and representatives, was ignorant of the falsity

12   of these promises and representations made by the Cross Defendants and their officers,

13   employees, agents and representatives and believed them to be true and thus he relied on them
14
     and continued to expend his personal funds for the benefit of the Cross Defendants and Nakoma.
15

16          74. As a proximate result of the false promises and representations made by the Cross

17   Defendants and their officers, employees, agents and representatives, Rosselli has suffered
18   monetary losses.
19
            75. The acts of the Cross Defendants and their officers, employees, agents and
20

21   representatives are wilful, wanton, malicious and oppressive and were undertaken with the

22   express intent to deceive and monetarily harm Rosselli and justify the awarding of exemplary
23
     and punitive damages.
24
            76.   Wherefore, the Cross Claimants request damages together with exemplary and
25

26   punitive damages in amounts to be proven at trial.

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 1                       NINTH CAUSE OF ACTION (CIVIL CONSPIRACY)

 2
            77. Cross Claimants refer to Paragraphs 1 to 76 of the Cross Complaint and incorporate
 3
     and re-allege each of them as though each was fully set forth herein.
 4

 5          78.   Cross Claimants are informed and believe and thereon allege that the Cross
 6
     Defendants and their officers, employees, agents and representatives and each of them
 7
     knowingly and willfully conspired and agreed among themselves to harm the character and
 8
     reputation of Rosselli.
 9

10          79.   Cross Claimants are informed and believe and thereon allege that the Cross
11
     Defendants and their officers, employees, agents and representatives and each of them
12
     knowingly and willfully conspired and agreed among themselves to convert the personal
13
     property of Rosselli and Bruso.
14

15          80. Cross Claimants are informed and believe and thereon allege that the Cross
16
     Defendants and their officers, employees, agents and representatives and each of them
17
     knowingly and willfully conspired and agreed among themselves to make promises and
18
     representations that were detrimentally relied upon by Rosselli and Bruso.
19

20          81. As a proximate result of the acts the Cross Defendants and their officers, employees,
21
     agents and representatives, Rosselli and Bruso have suffered loss of reputation, loss of the use of
22
     their personal property and monetary damages due to the Cross Claimants’ detrimental reliance
23

24
     on the false and misleading promises and representations made to the Cross Claimants.

25
            82. The acts of the Cross Defendants and their officers, employees, agents and
26
     representatives are wilful, wanton, malicious and oppressive and were undertaken with the
27
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 1   express intent to harm Rosselli and Bruso and justify the awarding of exemplary and punitive

 2   damages.
 3
            83.   Wherefore, the Cross Claimants request damages together with exemplary and
 4

 5
     punitive damages in amounts to be proven at trial.

 6
                   TENTH CAUSE OF ACTION (WRONGFUL TERMINATION)
 7
            84. Cross Claimants refer to Paragraphs 1 to 83 of the Cross Complaint and incorporate
 8

 9   and re-allege each of them as though each was fully set forth herein.

10
            85. On May 10, 2015 the Cross Defendants and Nakoma hired Rosselli under the terms
11
     of an oral and implied oral contract. At this time Rosselli was led to believe that his employment
12
     was to be on a year round basis. The truth of the matter was that the Cross Defendants had no
13

14   such intention and intended to terminate him at the beginning of the slow season.

15
            86. After Rosselli was hired, he undertook his job and duly and satisfactorily performed
16
     all of the conditions of his employment.
17

18          87. On December 8, 2015, Rosselli suffered an on the job injury which occurred while
19
     he was performing his duties and rightfully made a workers compensation claim.
20
            88. During the time of his employment, Rosselli became aware of the ongoing practices
21

22   of the Cross Defendants and Nakoma to employ and compensate undocumented workers

23   contrary to the laws of the United States and the State of California.
24
            89.   On numerous occassions, Rosselli voiced his concerns regarding these illegal
25

26
     employment practices to the officers and managers of the Cross Defendants and Nakoma.

27
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 1          90. On December 15, 2015, the Cross Defendants and Nakoma wrongfully terminated

 2   Rosselli for false and defamatory reasons in retaliation for the filing of a valid workers
 3
     compensation claim and for his expressions of concern in regards to the illegal employment
 4
     practices of the Cross Defendants and Nakoma.
 5

 6          91. At the time of his termination, Rosselli was ready, willing and able to perform all of
 7   the conditions of the oral and implied oral contract made by and between Rosselli and the Cross
 8
     Defendants and Nakoma.
 9

10          92. As a proximate result of the acts the Cross Defendants and Nakoma, Rosselli has

11   suffered and continues to suffer losses in earnings.
12
            93. The acts of the Cross Defendants and Nakoma are wilful, wanton, malicious and
13
     oppressive and were undertaken with the express intent to harm Rosselli and justify the awarding
14

15   of exemplary and punitive damages.

16
            94.   Wherefore, the Cross Claimants request damages together with exemplary and
17
     punitive damages in amounts to be proven at trial.
18

19          WHEREFORE, Cross Claimants Brett Rosselli and Nicole Bruso pray for judgment
20   against Cross Defendants SGI Resort Properties, LLC and The Schomac Group, Inc. as follows.
21
            1. Judgment in favor of Cross Claimants Brett Rosselli and Nicole Bruso on all Causes
22

23   of Action alleged herein;

24
            2. For an award of compensatory damages;
25

26
            3. For an award of exemplary and punitive damages;

27
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 1         4. For an award of their attorney’s fees;

 2
           5. For an award of their costs of suit; and
 3

 4         6. Any and all other relief that the Court deems appropriate.

 5

 6

 7
     Dated: March 4, 2016                                By: /s/ Gregg W. Koechlein
                                                         GREGG W. KOECHLEIN
 8                                                       Attorney for Brett Rosselli and
                                                         Nicole Bruso
 9

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 1                                     CERTIFICATE OF SERVICE

 2          I am a resident of the United States and employed in the County of Washoe, State of
 3
     Nevada. I am over the age of eighteen (18) years of age and not a party to the within action; my
 4
     business address is 581 Ridge Street, Reno, Nevada 89501.
 5
            On March 4, 2016, I served the:
 6

 7        DEFENDANTS’ ANSWER TO THE COMPLAINT OF THE PLAINTIFFS AND
             DEFENDANTS’ CROSS COMPLAINT AGAINST THE PLAINTIFFS
 8
            [ X ] All counsel of record who are deemed to have consented to electronic service are
 9

10   being served with a copy of this document (Defendants’ Answer to the Complaint of Plaintiffs

11   and Defendants’ Cross Complaint Against the Plaintiffs) and all supporting documents thereto
12
     via the Court's CM/ECF system per Local Rule. Any other counsel of record will be served by
13
     facsimile transmission and first class mail, return receipt requested.
14
            I declare under penalty of perjury under the laws of the State of California that the
15

16   foregoing is true and correct and that this Certificate was executed on March 4, 2016 at Reno,

17   Nevada.
18

19
                                                           By: /s/ Gregg W. Koechlein
20                                                                 GREGG W. KOECHLEIN
21

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